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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION
____________________________________
                                             )
STATE OF TEXAS, et al.,                      )
                                             )
                        Plaintiffs,          )
                                             )
                v.                           )   Civil Action No. 2:21-CV-00229-Z
                                             )
XAVIER BECERRA, in his official capacity )
as Secretary of the United States Department )
of Health and Human Services, et al.,        )
                                             )
                        Defendants.          )
____________________________________)


    DEFENDANTS’ JOINDER IN MOTION FOR VOLUNTARY DISMISSAL,
                    AND REPLY IN SUPPORT OF
DEFENDANTS’ MOTION FOR A STAY OF THE INJUNCTION PENDING APPEAL
        Defendants consent to, and join in, Plaintiffs’ motion for voluntary dismissal of their

complaint, ECF No. 63. Until the complaint is dismissed, however, Defendants’ motion for a stay of

the preliminary injunction pending appeal is not yet moot.

        As Defendants noted in their stay motion, they have respectfully requested that the Court rule

on the motion no later than 5:00 p.m. on Wednesday, January 19, and they have informed the Court

that, absent relief from this Court by that time, Defendants intend to seek a stay in the court of appeals.

        Defendants accordingly request that the Court either grant Plaintiffs’ motion for voluntary

dismissal, or grant the stay motion, by 5:00 p.m. on Wednesday, January 19.
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Dated: January 19, 2022                  Respectfully submitted,

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